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                                                                                                        E-FILED
                                                             Wednesday, 24 July, 2019 04:19:31 PM
                                                                    Clerk, U.S. District Court, ILCD
                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                               )
                                                        )
                        Plaintiff,                      )
                                                        )
       vs.                                              )      Case No. 19-cr-10029
                                                        )
DANIEL HUDDLESTON,                                      )
                                                        )
                        Defendant.                      )

     DEFENDANT HUDDLESTON’S MOTION FOR ELECTRONIC REVIEW OF
    PRETRIAL DISCOVERY BY DEFENDANT IN A CORRECTIONAL FACILITY

       NOW COMES Defendant DANIEL HUDDLESTON, by and through his attorney,

HANAUER LAW OFFICE, LLC by ROBERT J. HANAUER, and in support of his Motion for

Electronic Review of Pretrial Discovery by Defendant in a Correctional Facility, states as

follows:

       1. Local Rule 16.2(B) of this Court provides in relevant part that pretrial discovery

             “shall not be given to, or left in the possession of, the defendant … “and that pretrial

             discovery “shall be kept in the possession and control of defense counsel or its agents

             at all times ….”

       2. Local Rule 16.2(D) further provides that “[t]he requirements of this Rule may be

             modified in a particular case for good cause shown upon written agreement of the

             parties or by order of the Court.”

       3. Defendant is currently detained at the Fulton County Jail pending disposition of this

             cause and a need exists for the electronic review of pretrial discovery by defendant.

             The parties agree the facility in which defendant is detained is suitably equipped to

             allow for defendant’s electronic review of the pre-trial discovery and maintains

             personnel adequately trained to allow for that review in compliance with the

             protections of Local Rule 16.2 and the stipulations of the parties. Allowing defendant
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           the opportunity to electronically review the pre-trial discovery in this case pursuant to

           the terms and conditions of this motion, accompanying proposed order (attached to

           this Motion) and policies and procedures established by the United States and the

           Federal Public Defender’s Office as well as with attorneys appointed under the

           Criminal Justice Act will expedite the resolution of this matter and will advance the

           interests of justice.

       4. The parties agree and stipulate that any electronic review of the pre-trial discovery by

           defendant will be expressly conditioned on the following:

                 a. the ongoing compliance at all times by defendant with the policies and

           procedures established by the United States Attorney’s Office and the Federal Public

           Defender’s Office as well as with attorneys appointed under the Criminal Justice Act;

           and

                 b. the ongoing willingness of the correctional institution to afford defendant

           electronic access to the pre-trial discovery pursuant to the policies and procedures

           established by the United States Attorney’s Office and the Federal Public Defender’s

           Office as well as with attorneys appointed under the Criminal Justice Act.

       5. The parties further agree that defendant’s access to pre-trial discovery can be

           terminated by either party upon notice to the other, without cause or leave of Court.

       WHEREFORE, Defendant DANIEL HUDDLESTON, prays that this Court enter an order

permitting the electronic review of pretrial discovery by Defendant while detained consistent with

this motion and proposed order.

Dated: 7/24/2019

                                               DANIEL HUDDLESTON, Defendant

                                               By:  s/ Robert J. Hanauer
                                               ROBERT J. HANAUER, ESQ.
                                                   Defendant’s Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2019, I electronically filed this Defendant Huddleston’s
Motion for Electronic Review of Pretrial Discovery by Defendant in a Correctional Facility
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to each of the following:

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                                     By:     s/ Robert J. Hanauer
                                             ROBERT J. HANAUER, ESQ.
                                                  Defendant’s Attorney




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